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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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SIMEON WILSON,

                          Plaintiff,                                   COMPLAINT

                 - against -                                           JURY TRIAL DEMANDED

CARIBBEAN AIRLINES LIMITED,
                                                                       Docket No.:
                           Defendant.
-------------------------------------------------------------------X

        Plaintiff Simeon Wilson, by and through his counsel, Giskan Solotaroff & Anderson

LLP, for his Complaint against Defendant Caribbean Airlines Limited, alleges as follows:

                                       PRELIMINARY STATEMENT

         1.      This is a civil action, filed under the diversity jurisdiction of the Court, for

  negligence on the part of Defendant Caribbean Airlines Limited (“Caribbean Airlines”).

         2.      Plaintiff Simeon Wilson is a 50-year-old man who, prior to October 7, 2018, had

  never been in any type of legal trouble. In October 2018, Mr. Wilson flew on Caribbean

  Airlines from Cheddi Jagan (“Cheddi”) International Airport in Guyana to John F. Kennedy

  (“JFK”) International Airport in New York. He had just spent a week in Guyana visiting his

  elderly father and was returning home to New York.

         3.      Caribbean Airlines, while in exclusive possession and control of Mr. Wilson’s

  suitcase, negligently allowed someone to steal the suitcase, break into it, and insert illegal

  drugs. As a result, when Mr. Wilson arrived in New York and retrieved his suitcase from

  baggage claim he was arrested, detained, and charged with federal drug felonies.

         4.      Mr. Wilson was ultimately fully exonerated of all criminal charges, but he

  suffered severe and lasting harm as a consequence of Defendant’s negligence.
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                         PARTIES, VENUE, AND JURISDICTION

      5.     Plaintiff is domiciled in Queens County, New York, and is a citizen of the United

States pursuant to 28 U.S.C. § 1332.

      6.     Defendant Caribbean Airlines, whose principal office is located in Trinidad and

Tobago, is a foreign business corporation that is incorporated in Trinidad and Tobago.

Caribbean Airlines is authorized to conduct business in the State of New York.

      7.     This Court has jurisdiction over Plaintiff’s claims based on the diversity of

citizenship of the parties and the amount in controversy exceeding $75,000, pursuant to 28

U.S.C. § 1332.

      8.     Venue is properly before this Court pursuant to 28 U.S.C. § 1391 as a substantial

part of the events giving rise to the claim occurred in this District.

      9.     This Court has personal jurisdiction over Defendant because it conducts business

in New York State.

                                 FACTUAL ALLEGATIONS

      10.    Simeon Wilson is a 50-year-old man lives and works in Queens, New York.

      11.    Prior to October 7, 2018, Mr. Wilson had never been in trouble with the law; he

had never even received a traffic ticket, let alone been arrested or charged with a crime.

      12.    On September 30, 2018, Mr. Wilson flew from New York City to Guyana to

celebrate his father’s 85th birthday. He spent approximately one week in Guyana.

      13.    Mr. Wilson’s return trip to New York was on October 6, 2018, on Caribbean

Airlines flight BW 726. It was an overnight flight that was scheduled to depart at

approximately 11:00 P.M.

      14.    Mr. Wilson arrived at the airport several hours early, at approximately 8:00 P.M.



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      15.    Mr. Wilson entered the airport and approached the Caribbean Airlines check-in

counter with his pre-paid ticket.

      16.    As was the standard procedure, Plaintiff presented his Caribbean Airlines ticket

and his suitcase was scanned and secured by Caribbean Airlines personnel, its agents and/or

employees, and taken into custody and control of Caribbean Airlines for transfer to a

Caribbean Airlines Aircraft bound for New York.

      17.    When Plaintiff handed his baggage to Caribbean Airlines personnel, the bag was

zipped up, closed, and secured.

      18.    Afterwards, Mr. Wilson passed through airport security, went to the designated

gate, and boarded his flight when called.

      19.    The plane landed at JFK Airport on October 7, 2018, at approximately 5:00 A.M.

      20.    Mr. Wilson deplaned and walked through the terminal to the designated baggage

carousel for his Caribbean Airlines flight. He retrieved his suitcase from the carousel and

began to walk away from the baggage claim area.

      21.    As Mr. Wilson was walking, agents from Customs and Border Protection

(“CBP”) approached him and said they needed to perform a security check. Mr. Wilson

acquiesced. The officers took him to a security counter area, asked him to place his bag on the

counter, asked him a few questions, and opened his suitcase.

      22.    Up until this point, Plaintiff and Caribbean Airlines personnel, its agents and/or

employees were the only people who had exercised control over Plaintiff’s suitcase from the

time he handed the suitcase to the Caribbean Airlines employees at Cheddi until the time he

retrieved the suitcases from the baggage carrousel in the JFK terminal.




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      23.    The CBP officers searched his suitcase and found two black plastic bags inside.

Plaintiff had never seen the black plastic bags before and did not have any idea how it was

possible for something to have gotten into his luggage. From the moment that he dropped off

his luggage at the check-in desk at Cheddi to moment that CBP searched his suitcase, he had

not had any access to his luggage. Only Caribbean Airlines had access, custody and control

over his luggage during that time.

      24.    Mr. Wilson later learned that the two plastic bags contained 2,000 grams of

cocaine. Mr. Wilson had never touched, handled, sold, or even seen drugs in his life. He did

not place the cocaine in his bag and does not know who did. Mr. Wilson was in absolute

shock to learn there were drugs in his suitcase.

      25.    Additionally, when the officers opened his suitcase, Mr. Wilson noticed there was

a necktie tied around it. The necktie did not belong to Mr. Wilson, he had never seen it before,

and he had not tied it around his own suitcase. Groggy from the overnight flight, Mr. Wilson

had not noticed the necktie when he had initially retrieved the bag from the carousel.

      26.    After the two plastic bags were found in Mr. Wilson’s suitcase, CBP officers

handcuffed Mr. Wilson and patted him down aggressively. The officers took Mr. Wilson’s

phone, wallet, and all personal belongings. No contraband was found on his body or in his

clothes.

      27.    Mr. Wilson was placed under arrest and told to wait. He remained handcuffed in

public. He was humiliated and frightened.

      28.    Agents from the Department of Homeland Security (“DHS”) arrived, took him to

another area of the airport, and placed him in a cell. The DHS agents then interrogated Mr.

Wilson and threatened him. The agents turned on a recording device and tried to extract a



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confession out of Mr. Wilson, who had nothing to confess to because he knew nothing about

the drugs in his suitcase. At this point, Mr. Wilson was terrified. He was not permitted to

contact a family member or attorney during this interrogation.

      29.      Several hours later, Mr. Wilson was handcuffed, shackled, and taken to the

Eastern District of New York courthouse at 225 Cadman Plaza East for his Initial Appearance.

He was charged with two counts of drug trafficking, in violation of 21 U.S.C. §§ 952(a) and

960, felony charges that carry penalties of up to five years in prison plus the possibility of

deportation.

      30.      Mr. Wilson’s family posted a $50,000 bond on Mr. Wilson. He was released

from jail and placed on Supervised Release. Mr. Wilson was required to check in with Pretrial

Services twice per month, and federal agents visited his home in Queens.

      31.      As a result of his arrest, Mr. Wilson was fired from his job as a janitor for Airway

LLC, providing maintenance and cleaning services at – coincidentally, ironically – JFK

Airport. Mr. Wilson had worked for Airway for approximately eight years without incident.

He was never absent from work. He had a stellar performance record at Airway and was

respected by his colleagues and supervisors.

      32.      Mr. Wilson was unable to work while the criminal case was pending, thus

depriving him of the ability to earn a living.

      33.      On December 19, 2018, approximately ten weeks after Mr. Wilson’s Initial

Appearance, the United States Attorney’s Office moved to dismiss all charges. Upon

information and belief, the federal prosecutor determined that Mr. Wilson’s luggage had been

tampered with while in the sole custody of Caribbean Airlines. Judge Steven M. Gold granted

the motion and all charges against Mr. Wilson were dismissed.



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      34.      As a result of Defendants’ negligence, acts, and/or omissions, Plaintiff suffered

harm in his professional and personal capacities; severe emotional distress; and economic loss.

      35.      During the pendency of the criminal case and for many months after, Mr. Wilson

suffered from depression and anxiety. He lost 20 pounds and could not sleep. He experienced

a “burning sensation” in his stomach almost every night.

      36.      Mr. Wilson also suffered reputational harm, as word quickly spread to people in

both Guyana and in the New York City Guyanese diaspora about Mr. Wilson’s arrest.

Unfortunately, upon hearing the news of Mr. Wilson’s arrest, many people wrongly assumed

he was guilty of drug smuggling. Mr. Wilson’s family members received threatening

messages.

      37.      Even to this day, when Mr. Wilson travels to Guyana to visit family and reenters

the United States through JFK Airport, U.S. Customs officers always pull him aside, take him

to a private room, and request the disposition letter from his criminal case (which he has

learned to always carry with him). This process is time consuming, frightening, and deeply

humiliating.

      38.      After all criminal charges against Mr. Wilson were dismissed, he obtained

employment as an Access-A-Ride driver. The work requires him to drive to and from JFK

Airport on a regular basis to pick up and drop off passengers. Each time he drives to or even

passes by the airport, he is reminded of his arrest and prosecution, causing him anxiety and

stress. Mr. Wilson sought out treatment from a therapist, who told him the he was

experiencing a Post-Traumatic Stress response.

      39.      Unfortunately, Mr. Wilson is not the first traveler between Guyana and the United

States who has been the victim of an unscrupulous drug smuggler and a negligent airline. In



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fact, a strikingly similar occurrence was the subject of a lawsuit and trial just a few years ago,

when another Queens man who had just returned to New York City from Guyana was arrested

at JFK Airport after federal agents found two bricks of cocaine in his suitcase. All charges

were eventually dismissed. The man brought a civil suit in this Court, the case proceeded to

trial, with a significant verdict for the plaintiff. See Levans v. Delta Airlines, Inc., Docket No.

12-CV-00773 (NG) (VMS).

      40.    Caribbean Airlines was and is aware of the above-described drug flaking scheme,

perpetrated by employees and/or agents under its control, and has a duty to protect its

passengers and their luggage from such criminal activity.

                                    CLAIM FOR RELIEF
                                        Negligence

      41.    Plaintiff repeats and re-alleges the allegations contained in the preceding

paragraphs above as if fully set forth herein.

      42.    The above-described occurrence was caused, in whole or in part, by the

carelessness, recklessness, and negligence of Defendant, its servants, agents and/or employees,

in the securing, protecting and safeguarding of Plaintiff’s belongings while in Defendant’s

custody and control; in violating all applicable rules, laws, regulations and ordinances; in

failing to prevent the occurrence complained of herein; and in causing the injuries complained

of herein.

      43.    Defendant, its agents and employees, breached its duty to ensure that baggage

placed within its custody and control be protected from third parties and ensuring that the

condition and contents of the baggage remain untouched and secured during transport and

flight.




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        44.      Defendant’s breach of those legal duties caused Plaintiff’s severe injuries; but for

  Defendant’s breach, Plaintiff would not have suffered any injuries.

        45.      The aforesaid occurrence and resulting injuries were caused solely by the

  carelessness, recklessness and negligence of Defendant, without any contributing fault or

  negligence on the part of Plaintiff.

        46.      Defendant’s breach of its legal duties was also the legal or proximate cause of

  Plaintiffs injuries.

        47.      As a proximate cause of Defendant’s negligence, Plaintiff has suffered severe and

  substantial damages.

        48.      Plaintiff is entitled to recover all his damages from the Defendant.

        49.      As a proximate cause of Defendant’s acts and omissions, Plaintiff has in the past

  and will in the future suffer damages.



WHEREFORE, Plaintiff demands judgment against Defendant:

                 A.      Awarding Plaintiff compensatory damages, including but not limited to
                 damages for emotional distress, lost income and wages, loss of liberty and physical
                 discomfort, and reputational harm, in an amount exceeding the monetary
                 jurisdictional limits of other lower courts which would otherwise have jurisdiction;

                 B.      Awarding Plaintiff punitive damages for Defendant’s wanton behavior;

                 C.      Awarding interest, costs, expenses, and disbursements; and

       Granting such other legal and equitable relief to the Plaintiff as the Court may deem just

and equitable.

                                          JURY DEMAND

         Plaintiff demands trial by jury of all issues as of right by a jury.




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  Dated:   September 24, 2020
           New York, NY

                                  GISKAN SOLOTAROFF & ANDERSON



                                  Amy E. Robinson, Esq.
                                  90 Broad Street, 10th Floor
                                  New York, New York 10004
                                  (646) 964-9609




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